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                               UNITED STATES DISTRICT COURT FOR
                                   THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                )
                                                         )
                                 Plaintiff,              )       4:06CR3019
                                                         )
                         vs.                             )       FINAL ORDER OF
                                                         )       FORFEITURE
                                                         )
IVAN ROJO OSUNA,                                         )
RAUL ORTEGA MIJARES,                                     )
                                                         )
                                 Defendants.             )


          NOW ON THIS 15th day of March, 2007, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture and Memorandum Brief. The Court reviews the

record in this case and, being duly advised in the premises, find as follows:

          1. On December 5, 2006, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853, based upon the Defendant's plea

of guilty to Counts I and VI of the Indictment filed herein. By way of said Preliminary Order of

Forfeiture, the Defendant’s interest in $400.00 in United States currency was forfeited to the United

States.

          2. On December 28, 2006, January 4 and 11, 2007, the United States published in a

newspaper of general circulation notice of this forfeiture and of the intent of the United States to

dispose of the property in accordance with the law, and further notifying all third parties of their right

to petition the Court within the stated period of time for a hearing to adjudicate the validity of their

alleged legal interest(s) in said property. An Affidavit of Publication was filed herein on March 9,

2007 (Filing No. 108).
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       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the subject property, i.e., $400.00 in United States

currency, held by any person or entity, is hereby forever barred and foreclosed.

       C. The subject property, i.e., $400.00 in United States currency, be, and the same hereby

is, forfeited to the United States of America.

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       March 15, 2007.                                BY THE COURT:

                                                      s/ RICHARD G. KOPF
                                                      United States District Judge
